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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11 United States of America              )   Case No. CR 24-127-JFW
                                         )
12                       Plaintiff,      )   SUPPLEMENTAL CRIMINAL TRIAL
                                         )   ORDER RE: DEFENDANT’S TRIAL
13        v.                             )   EXHIBITS AND WITNESSES
                                         )
14                                       )
     Chenguang Gong,                     )
15                                       )
                 Defendant.              )
16 ___________________________
17        The above matter is set for trial on June 24, 2025 before
18 the Honorable John F. Walter, Courtroom 7A, United States
19 Courthouse.       In addition to the filing deadlines required by
20 the Court in the Criminal Trial Order as modified by the
21 Court’s order of November 18, 2024, the Court Orders the
22 following:1
23        1.    Defendant shall prepare (but not file) a Pre-Trial
24 Exhibit List which shall contain a numbered list of all of
25
        1
          The Pre-Trial Exhibit List, Joint Pre-Trial Exhibit
26 Stipulation,  and Pre-Trial Witness List described herein are
27 comply with the and
   in addition  to,     do not replace, counsel’s obligations to
                    Court’s Criminal Trial Order and the Local
28 Rules regarding exhibit and witness lists.
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 1 the exhibits Defendant intends to offer during trial.                           For
 2 each exhibit listed, Defendant shall identify the exhibit by
 3 providing the following information: title, date,
 4 number of pages, and author (if identified in the document)
 5 (collectively the “description” of the exhibit). Defendant
 6 shall also identify each witness he anticipates will testify
 7 about and/or lay the foundation for the exhibit. Defendant
 8 shall provide a copy of the foregoing Pre-Trial Exhibit List
 9 to the Government no later than May 19, 2025.                        Within four
10 (4) calendar days of receipt of Defendant’s Pre-Trial Exhibit
11 List, counsel for Government                  shall meet and confer with the
12 Defendant’s counsel, in person, to prepare a Joint Pre-Trial
13 Exhibit Stipulation.                The Joint Pre-Trial Exhibit Stipulation
14 shall set forth the Government’s objections to Defendant’s
15 exhibits, if any, the basis for each objection and
16 Defendant’s response to the objection.                      All exhibits to which
17 there is no objection shall be admitted into evidence.                           The
18 parties shall stipulate to the authenticity of exhibits
19 whenever possible, and the Pre-Trial Exhibit Stipulation
20 shall identify any exhibits for which authenticity has not
21 been stipulated to and the specific reasons for Government’s
22 failure to stipulate.
23                The Joint Pre-Trial Exhibit Stipulation filed by the
24 Defendant and the Government shall be substantially in the
25 following form:
26                          Joint Pre-Trial Exhibit Stipulation
27 Defendant’s Exhibits
28   Number   Description    Witness    If Objection, State Grounds   Response to Objection


                                                 2
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 1        The Joint Pre-Trial Exhibit Stipulation shall be filed no
 2 later than June 10, 2025.           Failure by the Government to meet
 3 and confer and/or advise the Defendant of its objections will
 4 constitute a waiver of those objections unless the Government
 5 is able to demonstrate good cause for its failure to comply
 6 with this Order.
 7        2.    Defendant shall prepare a Pre-Trial Witness List
 8 identifying the witnesses he intends to call during trial in
 9 the order that the witnesses will be called, including a
10 brief summary of each witness’s expected testimony and an
11 estimate of the length of time needed for direct examination.
12 Defendant shall file its Pre-Trial Witness List on or before
13 June 2, 2025.         The Government shall file, no later than June
14 4, 2025, a response to the Defendant’s Pre-Trial Witness List
15 identifying the approximate length of time counsel anticipate
16 they will need for cross-examination of the Defendant’s
17 witnesses.
18        IT IS SO ORDERED.
19
20 Dated: November 25, 2024
21
                                               JOHN F. WALTER
22                                             UNITED STATES DISTRICT JUDGE
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